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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 NATIONAL TREASURY EMPLOYEES
 UNION, et al.

                       Plaintiffs,

        v.                                              Case No. 25-0381-ABJ

 RUSSELL VOUGHT, in his capacity as
 Acting Director of the Consumer Financial
 Protection Bureau, et al.

                       Defendants.


             AMICUS CURIAE TZEDEK DC’S MOTION FOR PRO HAC VICE
                      ADMISSION OF SARAH HOLLENDER

       Ariel Levinson-Waldman of Tzedek DC, a member in good standing in the bar of this

Court, respectfully moves for the admission pro hac vice of Sarah Hollender for the limited

purpose of entering an appearance on behalf of amicus curiae Tzedek DC in the above-

captioned case. In support of this motion, undersigned counsel states as follows:

   1. I am a member in good standing of the bar of this Court, and have entered my appearance

       in the above-captioned matter.

   2. I move for admission pro hac vice of Sarah Hollender of Tzedek DC to appear before this

       Court as co-counsel of record, and to participate in all proceedings.

   3. As evidenced by the attached affidavit, Ms. Hollender is a member in good standing of

       the bars of the District of Columbia, where her membership is active, and New York State,

       2nd Department where she is currently registered; there are no disciplinary proceedings

       pending against her as a member of the bar in any jurisdiction; no discipline has

       previously been imposed on her in any jurisdiction; and she is familiar with the local rules
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       of this Court.

       For the foregoing reasons, undersigned counsel respectfully requests that this Court grant

leave for Sarah Hollender to appear before the Court in this matter pro hac vice.



Dated: March 13, 2025                            Respectfully Submitted,

                                                 /s/ Ariel Levinson-Waldman
                                                 Ariel Levinson-Waldman (Bar No. 474429)
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